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 1                               UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3    LBF TRAVEL MANAGEMENT CORP.,                          Case No.: 20-cv-2404-MMA-AGS
      and Michael THOMAS,
 4
                                          Plaintiffs,       SCHEDULING ORDER
 5                                                          REGULATING DISCOVERY
      v.                                                    AND OTHER PRETRIAL
 6
                                                            PROCEEDINGS
      Thomas DEROSA,
 7
                                         Defendant.
 8
 9           Under Civil Local Rule 16.1(d), a Case Management Conference was held on
10    May 12, 2021. After consulting with the attorneys of record for the parties and being
11    advised of the status of the case, and good cause appearing, IT IS HEREBY ORDERED:
12           1.       Any motion to join other parties, to amend the pleadings, or to file additional
13    pleadings must be filed by July 7, 2021.
14           2.       All fact discovery must be completed by all parties by March 1, 2022.
15    “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
16    Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period of
17    time in advance of the cut-off date, so that it may be completed by the cut-off date, taking
18    into account the times for service, notice and response as set forth in the Federal Rules of
19    Civil Procedure. Counsel must promptly and in good faith meet and confer with
20    regard to all discovery disputes in compliance with Local Rule 26.1(a). The Court
21    expects counsel to make every effort to resolve all disputes without court intervention
22    through the meet and confer process. If the parties reach an impasse on any discovery
23    issue, counsel must file an appropriate motion within the time limit and procedures outlined
24    in the undersigned magistrate judge’s chambers rules. A failure to comply in this regard
25    will result in a waiver of a party’s discovery issue. Absent an order of the court, no
26    stipulation continuing or altering this requirement will be recognized by the court.
27           3.       During discovery, the parties will be limited to the following per-side
28    restrictions:

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 1                                 DISCOVERY LIMITATIONS
 2                       Discovery Type                            Restriction (Per Side)
 3        Depositions (Between Plaintiffs/Counter-
                                                                       No more than 12
          Defendants and Defendant/Counter-Claimant)
 4        Depositions (Between Third-Party Plaintiff and
                                                                       No more than 3
 5        Third-Party Defendants)
          Requests for Admission                                       No more than 35
 6
          Interrogatories                                              No more than 35
 7
          Requests to Produce Documents                                No more than 50
 8
 9          For the purposes of discovery only, the three “sides” are: (1) LBF Travel
10    Management Corp. (including LBF Travel, Inc.) and Michael Thomas; (2) Thomas
11    DeRosa; (3) Mondee Holdings, LLC; Mondee, Inc.; and Prasad Gundumogula.
12    Additionally, there may be no “double-use” of witnesses between the two types of
13    depositions listed above.
14          4.     The parties must designate their respective experts in writing by January 4,
15    2022. The parties must identify any person who may be used at trial to present evidence
16    pursuant to Rules 702, 703 or 705 of the Fed. R. Evid. This requirement is not limited to
17    retained experts. The date for exchange of rebuttal experts must be by February 1, 2022.
18    The written designations must include the name, address and telephone number of the
19    expert and a reasonable summary of the testimony the expert is expected to provide. The
20    list must also include the normal rates the expert charges for deposition and trial testimony.
21          5.     By January 4, 2022, each party must comply with the disclosure provisions
22    in Rule 26(a)(2)(B) and (C) of the Federal Rules of Civil Procedure. This disclosure
23    requirement applies to all persons retained or specially employed to provide expert
24    testimony, or whose duties as an employee of the party regularly involve the giving of
25    expert testimony. Except as provided in the paragraph below, any party that fails to
26    make these disclosures will not, absent substantial justification, be permitted to use
27    evidence or testimony not disclosed at any hearing or at the time of trial. In addition,
28    the Court may impose sanctions as permitted by Fed. R. Civ. P. 37(c).

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 1          6.     Any party must supplement its disclosure regarding contradictory or rebuttal
 2    evidence under Fed. R. Civ. P. 26(a)(2)(D) by February 1, 2022.
 3          7.     All expert discovery must be completed by all parties by March 1, 2022. The
 4    parties must comply with the same procedures set forth in the paragraph governing fact
 5    discovery.
 6          8.     Failure to comply with this section or any other discovery order of the court
 7    may result in the sanctions provided for in Fed. R. Civ. P. 37, including a prohibition on
 8    the introduction of experts or other designated matters in evidence.
 9          9.     All dispositive pretrial motions, including motions for summary judgment and
10    motions addressing Daubert issues, must be filed by March 29, 2022.1 Counsel for the
11    moving party must obtain a motion hearing date from Judge Anello’s law clerk. The period
12    of time between the date you request a motion date and the hearing date may vary from
13    one district judge to another. Please plan accordingly. Failure to make a timely request
14    for a motion date may result in the motion not being heard.
15          10.    If appropriate, following the filing of an order ruling on a motion for summary
16    judgment or other dispositive pretrial motion, or in the event no such motion is filed, after
17    the expiration of the deadline set forth in paragraph 8, supra, Judge Anello will issue a
18    pretrial scheduling order setting a pretrial conference, trial date, and all related pretrial
19    deadlines. The parties must review and be familiar with Judge Anello’s Civil Chambers
20    Rules, which provide additional information regarding pretrial scheduling.
21          11.    A Mandatory Settlement Conference will be conducted on March 16, 2022,
22    at 9:00 a.m. in the chambers of Magistrate Judge Andrew G. Schopler. Counsel or any
23    party representing himself or herself must submit confidential settlement briefs directly to
24    the magistrate judge’s chambers by March 7, 2022. Each statement, limited to 5 pages
25    exclusive of exhibits, must outline the nature of the case, the claims, the defenses, the
26
27
      1
        This deadline is not applicable to pretrial motions in limine. For further information
28    regarding motions in limine, please refer to Judge Anello’s Civil Chambers Rules.

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 1    parties’ settlement positions, and all MSC attendees for that side, including their names,
 2    titles, and positions. The settlement position must include a specific and current demand or
 3    offer addressing all relief or remedies sought. If a specific demand or offer cannot be made,
 4    then the reasons for this must be set forth. If exhibits are attached and the total submission
 5    amounts to more than 20 pages, a courtesy hard copy must also be delivered directly to
 6    Chambers. At their discretion, the parties may choose to share their statements with
 7    opposing counsel or to keep them confidential. Defense counsel is responsible for ensuring
 8    plaintiff’s participation by phone.
 9          12.    A post trial settlement conference before a magistrate judge may be held
10    within 30 days of verdict in the case.
11          13.    The dates and times set forth herein will not be modified except for good cause
12    shown.
13          14.    Briefs or memoranda in support of or in opposition to any pending motion
14    must not exceed twenty-five (25) pages in length without leave of a district court judge.
15    No reply memorandum will exceed ten (10) pages without leave of a district court judge.
16    Briefs and memoranda exceeding ten (10) pages in length must have a table of contents
17    and a table of authorities cited.
18          15.    Plaintiff’s counsel must serve a copy of this order on all parties that enter this
19    case hereafter.
20    Dated: May 12, 2021
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